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FILED IN OPEN COURT

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UNITED STATES DISTRICT COURT Nive tata FLORIDA
MIDDLE DISTRICT OF FLORIDA JACSSONVILES. fLORIDA
JACKSONVILLE DIVISION
UNITED STATES OF AMERICA
Vv. CASE NO. 3:24-cr- 1G -wWwe ~LLL

CRYSTAL DENEAN HARVELL
PLEA AGREEMENT
Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by
Roger B. Handberg, United States Attorney for the Middle District of Florida,
and the defendant, Crystal Denean Harvell, and the attorney for the
defendant, Darcy Galnor, Esq., mutually agree as follows:

A. Particularized Terms

1 Counts Pleading To
The defendant shall enter a plea of guilty to Counts One and
Two of the Information. Count One and Two charge the defendant with
conspiracy to commit wire fraud and wire fraud, in violation of 18 U.S.C.
§§ 1349 and 1343.

2. Maximum Penalties

Count One carries a maximum sentence of up to 20 years
imprisonment, a fine of up to $250,000, or twice the gross gain caused by the

offense, or twice the gross loss caused by the offense, whichever is greater, or

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both a term of imprisonment and a fine, a term of supervised release of not
more than 3 years, and a special assessment of $100. A violation of the terms
and conditions of supervised release carries a sentence of up to 2 years of
imprisonment, as well as the possibility of an additional term of supervised
release. With respect to certain offenses, the Court shall order the defendant to
make restitution to any victim of the offense(s), and with respect to other
offenses, the Court may order the defendant to make restitution to any victim
of the offense(s), or to the community.

Count Two carries a maximum sentence of up to 20 years
imprisonment, a fine of up to $250,000, or twice the gross gain caused by the
offense, or twice the gross loss caused by the offense, whichever is greater, or
both a term of imprisonment and a fine, a term of supervised release of not
more than 3 years, and a special assessment of $100. A violation of the terms
and conditions of supervised release carries a sentence of up to 2 years of
imprisonment, as well as the possibility of an additional term of supervised
release. With respect to certain offenses, the Court shall order the defendant to
make restitution to any victim of the offense(s), and with respect to other
offenses, the Court may order the defendant to make restitution to any victim

of the offense(s), or to the community.

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The cumulative maximum penalties for Counts One and Two are
up to 40 years’ imprisonment, fines of up to $500,000, or twice the gross gain
caused by the offense, or twice the gross loss caused by the offense, whichever
is greater, or both a term of imprisonment and a fine, a term of supervised
release of not more than 3 years, and $200 in special assessments. A violation
of the terms and conditions of supervised release carries a maximum
additional term of not more than 4 years of imprisonment, as well as the
possibility of an additional term of supervised release. With respect to certain
offenses, the Court shall order the defendant to make restitution to any victim
of the offense(s), and with respect to other offenses, the Court may order the
defendant to make restitution to any victim of the offense(s), or to the
community.

3. Elements of the Offenses

The defendant acknowledges understanding the nature and
elements of the offenses with which defendant has been charged and to which
defendant is pleading guilty.

The elements of Count One are:
First: two or more persons, in some way or manner,
agreed to try to accomplish a common and unlawful plan

to commit wire fraud, as charged in the Information; and

Second: the defendant knew the unlawful purpose of the plan and
willfully joined in it.

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The elements of Count Two are:
First: the defendant knowingly devised or participated in a
scheme to defraud to obtain money or property by using
false or fraudulent pretenses, representations, or promises;

Second: the false pretenses, representations, or promises were
about a material fact;

Third: the defendant acted with intent to defraud; and
Fourth: the defendant transmitted, or caused to be transmitted, by
wire some communication in interstate commerce to help

carry out the scheme to defraud.

4. Indictment Waiver

Defendant will waive the right to be charged by way of
indictment before a federal grand jury.

5, Mandatory Restitution to Victims

Pursuant to 18 U.S.C. § 3663A(a) and (b), the defendant agrees
to make full restitution to any victims.
6. Acceptance of Responsibility - Three Levels
At the time of sentencing, and in the event that no adverse
information is received suggesting such a recommendation to be unwarranted,
the United States will recommend to the Court that the defendant receive a
two-level downward adjustment for acceptance of responsibility, pursuant to

USSG § 3E1.1(a). The defendant understands that this recommendation or

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request is not binding on the Court, and if not accepted by the Court, the
defendant will not be allowed to withdraw from the plea.

Further, at the time of sentencing, if the defendant's offense level
prior to operation of subsection (a) is level 16 or greater, and if the defendant
complies with the provisions of USSG § 3E1.1(b) and all terms of this Plea
Agreement, including but not limited to, the timely submission of the financial
affidavit referenced in Paragraph B.5., the United States agrees to file a motion
pursuant to USSG § 3E1.1(b) for a downward adjustment of one additional
level. The defendant understands that the determination as to whether the
defendant has qualified for a downward adjustment of a third level for
acceptance of responsibility rests solely with the United States Attorney for the
Middle District of Florida, and the defendant agrees that the defendant cannot
and will not challenge that determination, whether by appeal, collateral attack,
or otherwise. The defendant understands that this recommendation or request
is not binding on the Court, and if not accepted by the Court, the defendant
will not be allowed to withdraw from the plea.

7 Cooperation - Substantial Assistance to be Considered

Defendant agrees to cooperate fully with the United States in the
investigation and prosecution of other persons, and to testify, subject to a

prosecution for perjury or making a false statement, fully and truthfully before

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any federal court proceeding or federal grand jury in connection with the
charges in this case and other matters, such cooperation to further include a
full and complete disclosure of all relevant information, including production
of any and all books, papers, documents, and other objects in defendant's
possession or control, and to be reasonably available for interviews which the
United States may require. If the cooperation is completed prior to
sentencing, the government agrees to consider whether such cooperation
qualifies as "substantial assistance" in accordance with the policy of the United
States Attorney for the Middle District of Florida, warranting the filing of a
motion at the time of sentencing recommending (1) a downward departure
from the applicable guideline range pursuant to USSG §5K1.1, or (2) the
imposition of a sentence below a statutory minimum, if any, pursuant to 18
U.S.C. § 3553(e), or (3) both. If the cooperation is completed subsequent to
sentencing, the government agrees to consider whether such cooperation
qualifies as "substantial assistance" in accordance with the policy of the United
States Attorney for the Middle District of Florida, warranting the filing of a
motion for a reduction of sentence within one year of the imposition of
sentence pursuant to Fed. R. Crim. P. 35(b). In any case, the defendant
understands that the determination as to whether "substantial assistance" has

been provided or what type of motion related thereto will be filed, if any, rests

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solely with the United States Attorney for the Middle District of Florida, and
the defendant agrees that defendant cannot and will not challenge that
determination, whether by appeal, collateral attack, or otherwise.
8. Use of Information - Section 1B1.8
Pursuant to USSG §1B1.8(a), the United States agrees that no
self-incriminating information which the defendant may provide during the
course of defendant's cooperation and pursuant to this agreement shall be used
in determining the applicable sentencing guideline range, subject to the
restrictions and limitations set forth in USSG §1B1.8(b).
9. Cooperation - Responsibilities of Parties
a. The government will make known to the Court and other
relevant authorities the nature and extent of defendant's cooperation and any
other mitigating circumstances indicative of the defendant's rehabilitative
intent by assuming the fundamental civic duty of reporting crime. However,
the defendant understands that the government can make no representation
that the Court will impose a lesser sentence solely on account of, or in
consideration of, such cooperation.
b. It is understood that should the defendant knowingly
provide incomplete or untruthful testimony, statements, or information

pursuant to this agreement, or should the defendant falsely implicate or

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incriminate any person, or should the defendant fail to voluntarily and
unreservedly disclose and provide full, complete, truthful, and honest
knowledge, information, and cooperation regarding any of the matters noted
herein, the following conditions shall apply:

(1) The defendant may be prosecuted for any perjury or
false declarations, if any, committed while testifying pursuant to this
agreement, or for obstruction of justice.

(2) The United States may prosecute the defendant for
the charges which are to be dismissed pursuant to this agreement, if any, and
may either seek reinstatement of or refile such charges and prosecute the
defendant thereon in the event such charges have been dismissed pursuant to
this agreement. With regard to such charges, if any, which have been
dismissed, the defendant, being fully aware of the nature of all such charges
now pending in the instant case, and being further aware of defendant's rights,
as to all felony charges pending in such cases (those offenses punishable by
imprisonment for a term of over one year), to not be held to answer to said
felony charges unless on a presentment or indictment of a grand jury, and
further being aware that all such felony charges in the instant case have
heretofore properly been returned by the indictment of a grand jury, does

hereby agree to reinstatement of such charges by recision of any order

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dismissing them or, alternatively, does hereby waive, in open court,
prosecution by indictment and consents that the United States may proceed by
information instead of by indictment with regard to any felony charges which
may be dismissed in the instant case, pursuant to this plea agreement, and the
defendant further agrees to waive the statute of limitations and any speedy
trial claims on such charges.

(3) The United States may prosecute the defendant for
any offenses set forth herein, if any, the prosecution of which in accordance
with this agreement, the United States agrees to forego, and the defendant
agrees to waive the statute of limitations and any speedy trial claims as to any
such offenses.

(4) The government may use against the defendant the
defendant's own admissions and statements and the information and books,
papers, documents, and objects that the defendant has furnished in the course
of the defendant's cooperation with the government.

(5) The defendant will not be permitted to withdraw the
guilty pleas to those counts to which defendant hereby agrees to plead in the
instant case but, in that event, defendant will be entitled to the sentencing
limitations, if any, set forth in this plea agreement, with regard to those counts

to which the defendant has pled; or in the alternative, at the option of the

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United States, the United States may move the Court to declare this entire
plea agreement null and void.

10. Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately
and voluntarily any and all assets and property, or portions thereof, subject to
forfeiture, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),
whether in the possession or control of the United States, the defendant or
defendant's nominees.

The assets to be forfeited specifically include, but are not limited
to, the $20,415 in proceeds the defendant admits she obtained, as the result of
the commission of the offense(s) to which the defendant is pleading guilty.
The defendant acknowledges and agrees that: (1) the defendant obtained this
amount as a result of the commission of the offense(s), and (2) as a result of
the acts and omissions of the defendant, the proceeds have been transferred to
third parties and cannot be located by the United States upon the exercise of
due diligence. Therefore, the defendant agrees that, pursuant to 21 U.S.C. §
853(p), the United States is entitled to forfeit any other property of the
defendant (substitute assets), up to the amount of proceeds the defendant
obtained, as the result of the offense(s) of conviction. The defendant further

consents to, and agrees not to oppose, any motion for substitute assets filed by

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the United States up to the amount of proceeds obtained from commission of
the offense(s) and consents to the entry of the forfeiture order into the
Treasury Offset Program. The defendant agrees that forfeiture of substitute
assets as authorized herein shall not be deemed an alteration of the defendant's
sentence.

The defendant additionally agrees that since the criminal
proceeds have been transferred to third parties and cannot be located by the
United States upon the exercise of due diligence, the preliminary and final
orders of forfeiture should authorize the United States Attorney’s Office to
conduct discovery (including depositions, interrogatories, requests for
production of documents, and the issuance of subpoenas), pursuant to Rule
32.2(b)(3) of the Federal Rules of Criminal Procedure, to help identify, locate,
and forfeit substitute assets.

The defendant also agrees to waive all constitutional, statutory,
and procedural challenges (including direct appeal, habeas corpus, or any
other means) to any forfeiture carried out in accordance with this Plea
Agreement on any grounds, including that the forfeiture described herein
constitutes an excessive fine, was not properly noticed in the charging
instrument, addressed by the Court at the time of the guilty plea, announced at

sentencing, or incorporated into the judgment.

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The defendant admits and agrees that the conduct described in
the Factual Basis below provides a sufficient factual and statutory basis for the
forfeiture of the property sought by the government. Pursuant to Rule
32.2(b)(4), the defendant agrees that the preliminary order of forfeiture will
satisfy the notice requirement and will be final as to the defendant at the time
it is entered. In the event the forfeiture is omitted from the judgment, the
defendant agrees that the forfeiture order may be incorporated into the written
judgment at any time pursuant to Rule 36.

The defendant agrees to take all steps necessary to identify and
locate all substitute assets and to transfer custody of such assets to the United
States before the defendant’s sentencing. To that end, the defendant agrees to
make a full and complete disclosure of all assets over which defendant
exercises control, including all assets held by nominees, to execute any
documents requested by the United States to obtain from any other parties by
lawful means any records of assets owned by the defendant, and to consent to
the release of the defendant’s tax returns for the previous five years. The
defendant agrees to be interviewed by the government, prior to and after
sentencing, regarding such assets. The defendant further agrees to be
polygraphed on the issue of assets, if it is deemed necessary by the United

States. The defendant agrees that Federal Rule of Criminal Procedure 11 and

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USSG § 1B1.8 will not protect from forfeiture assets disclosed by the
defendant as part of the defendant’s cooperation.

The defendant agrees to take all steps necessary to assist the
government in obtaining clear title to any substitute assets before the
defendant’s sentencing. In addition to providing full and complete
information about substitute assets, these steps include, but are not limited to,
the surrender of title, the signing of a consent decree of forfeiture, and signing
of any other documents necessary to effectuate such transfers.

Forfeiture of the defendant's assets shall not be treated as
satisfaction of any fine, restitution, cost of imprisonment, or any other penalty
the Court may impose upon the defendant in addition to forfeiture.

The defendant agrees that, in the event the Court determines that
the defendant has breached this section of the Plea Agreement, the defendant
may be found ineligible for a reduction in the Guidelines calculation for
acceptance of responsibility and substantial assistance, and may be eligible for
an obstruction of justice enhancement.

The defendant agrees that the forfeiture provisions of this plea
agreement are intended to, and will, survive the defendant, notwithstanding
the abatement of any underlying criminal conviction after the execution of this

agreement. The forfeitability of any particular property pursuant to this

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agreement shall be determined as if the defendant had survived, and that
determination shall be binding upon defendant’s heirs, successors and assigns
until the agreed forfeiture, including the forfeiture of any substitute assets, is
final.

B. Standard Terms and Conditions

1. Restitution, Special Assessment and Fine

The defendant understands and agrees that the Court, in addition
to or in lieu of any other penalty, shall order the defendant to make restitution
to any victim of the offense(s), pursuant to 18 U.S.C. § 3663A, for all offenses
described in 18 U.S.C. § 3663A(c)(1); and the Court may order the defendant
to make restitution to any victim of the offense(s), pursuant to 18 U.S.C. §
3663, including restitution as to all counts charged, whether or not the
defendant enters a plea of guilty to such counts, and whether or not such
counts are dismissed pursuant to this agreement. The defendant further
understands that compliance with any restitution payment plan imposed by
the Court in no way precludes the United States from simultaneously pursuing
other statutory remedies for collecting restitution (28 U.S.C. § 3003(b)(2)),
including, but not limited to, garnishment and execution, pursuant to the
Mandatory Victims Restitution Act, in order to ensure that the defendant’s

restitution obligation is satisfied.

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On each count to which a plea of guilty is entered, the Court shall
impose a special assessment pursuant to 18 U.S.C. § 3013. The special
assessment is due on the date of sentencing.

Ze Supervised Release

The defendant understands that the offense(s) to which the
defendant is pleading provide(s) for imposition of a term of supervised release
upon release from imprisonment, and that, if the defendant should violate the
conditions of release, the defendant would be subject to a further term of
imprisonment.

5. Immigration Consequences of Pleading Guilty

The defendant has been advised and understands that, upon
conviction, a defendant who is not a United States citizen may be removed
from the United States, denied citizenship, and denied admission to the
United States in the future.

4. Sentencing Information

The United States reserves its right and obligation to report to the
Court and the United States Probation Office all information concerning the
background, character, and conduct of the defendant, to provide relevant
factual information, including the totality of the defendant's criminal activities,

if any, not limited to the count(s) to which defendant pleads, to respond to

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comments made by the defendant or defendant's counsel, and to correct any
misstatements or inaccuracies. The United States further reserves its right to
make any recommendations it deems appropriate regarding the disposition of
this case, subject to any limitations set forth herein, if any.
a Financial Disclosures

Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.
32(d)(2)(A)(ii), the defendant agrees to complete and submit to the United
States Attorney's Office within 30 days of execution of this agreement an
affidavit reflecting the defendant's financial condition. The defendant
promises that her financial statement and disclosures will be complete,
accurate and truthful and will include all assets in which she has any interest
or over which the defendant exercises control, directly or indirectly, including
those held by a spouse, dependent, nominee or other third party. The
defendant further agrees to execute any documents requested by the United
States needed to obtain from any third parties any records of assets owned by
the defendant, directly or through a nominee, and, by the execution of this
Plea Agreement, consents to the release of the defendant's tax returns for the
previous five years. The defendant similarly agrees and authorizes the United
States Attorney's Office to provide to, and obtain from, the United States

Probation Office, the financial affidavit, any of the defendant's federal, state,

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and local tax returns, bank records and any other financial information
concerning the defendant, for the purpose of making any recommendations to
the Court and for collecting any assessments, fines, restitution, or forfeiture
ordered by the Court. The defendant expressly authorizes the United States
Attorney's Office to obtain current credit reports in order to evaluate the
defendant's ability to satisfy any financial obligation imposed by the Court.
6. Sentencing Recommendations

It is understood by the parties that the Court is neither a party to
nor bound by this agreement. The Court may accept or reject the agreement,
or defer a decision until it has had an opportunity to consider the presentence
report prepared by the United States Probation Office. The defendant
understands and acknowledges that, although the parties are permitted to
make recommendations and present arguments to the Court, the sentence will
be determined solely by the Court, with the assistance of the United States
Probation Office. Defendant further understands and acknowledges that any
discussions between defendant or defendant's attorney and the attorney or
other agents for the government regarding any recommendations by the
government are not binding on the Court and that, should any
recommendations be rejected, defendant will not be permitted to withdraw

defendant's plea pursuant to this plea agreement. The government expressly

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reserves the right to support and defend any decision that the Court may make
with regard to the defendant's sentence, whether or not such decision is
consistent with the government's recommendations contained herein.

7, Defendant's Waiver of Right to Appeal the Sentence

The defendant agrees that this Court has jurisdiction and
authority to impose any sentence up to the statutory maximum and expressly
waives the right to appeal defendant's sentence on any ground, including the
ground that the Court erred in determining the applicable guidelines range
pursuant to the United States Sentencing Guidelines, except (a) the ground

that the sentence exceeds the defendant's applicable guidelines range as

determined by the Court pursuant to the United States Sentencing Guidelines;
(b) the ground that the sentence exceeds the statutory maximum penalty; or (c)
the ground that the sentence violates the Eighth Amendment to the
Constitution; provided, however, that if the government exercises its right to
appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then the
defendant is released from his waiver and may appeal the sentence as
authorized by 18 U.S.C. § 3742(a).

8. Middle District of Florida Agreement

It is further understood that this agreement is limited to the

Office of the United States Attorney for the Middle District of Florida and

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cannot bind other federal, state, or local prosecuting authorities, although this
office will bring defendant's cooperation, if any, to the attention of other
prosecuting officers or others, if requested.
9. Filing of Agreement
This agreement shall be presented to the Court, in open court or
in camera, in whole or in part, upon a showing of good cause, and filed in this
cause, at the time of defendant's entry of a plea of guilty pursuant hereto.

10. Voluntariness

The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon
any discussions between the attorney for the government and the defendant
and defendant's attorney and without promise of benefit of any kind (other
than the concessions contained herein), and without threats, force,
intimidation, or coercion of any kind. The defendant further acknowledges
defendant's understanding of the nature of the offense or offenses to which
defendant is pleading guilty and the elements thereof, including the penalties
provided by law, and defendant's complete satisfaction with the representation
and advice received from defendant's undersigned counsel (if any). The
defendant also understands that defendant has the right to plead not guilty or

to persist in that plea if it has already been made, and that defendant has the

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right to be tried by a jury with the assistance of counsel, the right to confront
and cross-examine the witnesses against defendant, the right against
compulsory self-incrimination, and the right to compulsory process for the
attendance of witnesses to testify in defendant's defense; but, by pleading
guilty, defendant waives or gives up those rights and there will be no trial.
The defendant further understands that if defendant pleads guilty, the Court
may ask defendant questions about the offense or offenses to which defendant
pleaded, and if defendant answers those questions under oath, on the record,
and in the presence of counsel (if any), defendant's answers may later be used
against defendant in a prosecution for perjury or false statement. The
defendant also understands that defendant will be adjudicated guilty of the
offenses to which defendant has pleaded and, if any of such offenses are
felonies, may thereby be deprived of certain rights, such as the right to vote, to
hold public office, to serve on a jury, or to have possession of firearms.

11. Factual Basis

Defendant is pleading guilty because defendant is in fact guilty.
The defendant certifies that defendant does hereby admit that the facts set
forth in the attached “Factual Basis,” which is incorporated herein by
reference, are true, and were this case to go to trial, the United States would be

able to prove those specific facts and others beyond a reasonable doubt.

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12. Entire Agreement
This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea
and no other promises, agreements, or representations exist or have been
made to the defendant or defendant's attorney with regard to such guilty plea.
13. Certification
The defendant and defendant's counsel certify that this plea
agreement has been read in its entirety by (or has been read to) the defendant
and that defendant fully understands its terms.
DATED this _|3™ day of Shlye o

ROGER B. HANDBERG

United States Attorney

CRYSTAL DENEAN HARVELL KEVIN C. FREIN

Defendant Assistant United States Attorney
gee ll.

DARCY GALNOR, ESQ. MICHAEL J/COOLICAN

Attorney for Defendant Assistant Ufited States Attorney

Deputy Chief, Jacksonville Div.

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
UNITED STATES OF AMERICA
v. CASE NO. 3:24-cr- (14 - WwR- LLE
CRYSTAL DENEAN HARVELL

PERSONALIZATION OF ELEMENTS

Count One

i, Do you admit that from a date unknown, but from at least in or
about February 2016, and continuing through and including in or about
September 2019, in the Middle District of Florida, and elsewhere, that you,
along with your co-conspirators, agreed to try to accomplish a common and
unlawful plan, that is, to commit wire fraud as charged in Count One of the
Information?

2. Do you admit that you knew the unlawful purpose of the plan

and willfully joined in it?

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Count Two

1, Do you admit that from a date unknown, but from at least in or
about April 2021, and continuing through at least in or around November
2021, in the Middle District of Florida, you knowingly devised and
participated in a scheme to defraud to obtain money or property by using false
pretenses, representations, and promises?

2. Do you admit that the false pretenses, representations, and
promises were about a material fact?

3. Do you admit that you acted with an intent to defraud?

A. Do you admit that you caused to be transmitted by wire some
communication in interstate commerce to help carry out the scheme to
defraud, that is, an Automated Clearing House (ACH) / wire transfer through
the ACH network of proceeds from a Paycheck Protection Program loan in
the amount of $20,415.00 from Prestamos to your Navy Federal Credit Union

account in Jacksonville, Florida?

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

v. CASE NO. 3:24-cr- (174 ~ WwWBR-eELLE

CRYSTAL DENEAN HARVELL

FACTUAL BASIS
Beginning on an unknown date, but not later than in or about February

2016, and continuing through and including at least September 2019, as part
of a conspiracy to commit wire fraud Crystal Denean Harvell (Harvell) and
her conspirators fraudulently obtained the Social Security number (SSN) of
genuine individuals. Harvell and others would recruit individuals to obtain
lines of credit at various businesses, using the SSN. She and others would
provide the individuals with the names of businesses to contact online and/or
over the phone to apply for a line of credit, using the SSN. Harvell instructed
conspirators to at times use their own personal identification information,
combined with the stolen SSN when applying for a line of credit. If an
individual was successful in obtaining a line of credit from a business, Harvell
and others instructed the individual to call the business and among other
things, increase the line of credit, change the address associated with the

account, and add other authorized users.

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After obtaining a line of credit, Harvell and others would use the line of
credit to purchase merchandise and instruct conspirators to purchase
merchandise. This conspiracy included Harvell assisting two conspirators with
fraudulently obtaining a vehicle, using SSNs that did not belong to the two
conspirators. Harvell also used fraudulently obtained SSNs in order to apply
for lines of credit from businesses. Harvell and her conspirators would
sometimes resell on Facebook the merchandise fraudulently purchased from
businesses, using Harvell’s account under the name of Crystal Wistle. Among
other businesses defrauded or attempted to be defrauded during the timeframe
of the conspiracy were American Signature Furniture, Ashley Furniture,
Home Design, Kane’s Furniture, Rooms To Go, CareCredit, Lowes, PayPal,
Sam’s Club, Wal-Mart, Signet Jewelers and its companies to include Kay
Jewelers and Jared.

In 2023, U.S. Secret Service Senior Special Agent (SA) Lomonaco
began investigating a Small Business Administration (SBA) Paycheck
Protection Program (PPP) loan for a beautician services business. Harvell
applied over the internet for the PPP loan. He determined that on or about
April 28, 2021, Blue Acorn, a third party processor for PPP loan applications,
received Harvell’s signed PPP loan application, that is, a SBA Form 2483-C

PPP Borrower Application Form (PPP loan application). Accompanying the

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PPP loan application was an image of Harvell’s Florida driver license
containing a photo of her and her personal identification information, as
required by Blue Acorn. In the PPP loan application Harvell falsely claimed
that her business generated gross income of $98,000. She falsely certified
among other things that her business was in operation on February 15, 2020
and that the funds would be used for authorized expenditures under the rules
of the PPP. Harvell further falsely certified that her application and all
supporting documentation she submitted were true and accurate.
Accompanying the PPP loan application among other items was an IRS Form
1040, Schedule C, “Profit or Loss From Business” (Form 1040) filed by
Harvell. On the Form 1040 Harvell falsely represented that she materially
participated in 2020 in the purported beautician business. The beautician
business generated gross income of $98,000, incurred advertising expenses of
$7,000, supply expenses of $10,000, car and truck expenses of $11,000, and
other business expenses, totaling $40,500.

After processing it, Blue Acorn forwarded Harvell’s PPP loan
application and accompanying Form 1040 to Prestamos Community
Development Financial Institution (Prestamos), a SBA Participating Lender
located in Arizona authorized by the SBA to lend funds for approved PPP

loan applications. As part of the PPP loan application process, Harvell signed

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and submitted on May 14, 2021, over the internet to Prestamos a “Business
Purpose Statement SBA Paycheck Protection Program” document. In this
document Harvell falsely represented that the proceeds of the PPP loan for
$20,415 would only be used for business related purposes, as authorized by the
U.S. Small Business Administration PPP. The documents signed by Harvell
on May 14, 2021, and submitted to Prestamos in Arizona in support of her
fraudulent PPP loan application were sent from Florida to one of Prestamos
computers servers outside the state of Florida.

In reliance on the materially false statements and representations
contained in the PPP loan application and accompanying Form 1040,
Harvell’s PPP loan application was approved. Borrowing off a line of credit
from the Federal Reserve, Prestamos funded the PPP loan. On or about May
21, 2021, through an Automated Clearing House / wire transfer, Prestamos
deposited into Harvell’s personal bank account at Navy Federal Credit Union
(NFCU) $20,415, in PPP loan proceeds. Harvell subsequently used the
fraudulently obtained loan proceeds for her own personal enrichment.

In October 2021, Harvell submitted a signed PPP loan forgiveness
application, that is, a SBA Form 3508S - PPP Loan Forgiveness Application
(PPP loan forgiveness application), that included multiple materially false and

fraudulent representations. In the PPP loan forgiveness application Harvell

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certified among other things that the amount of the loan spent on payroll costs
was $18,800 and that the PPP loan proceeds were only used for purposes
eligible under the terms of the PPP. In reliance on the materially false
statements contained in the PPP loan forgiveness application in November
2021, the SBA forgave the entire amount of the principal, plus interest on

Harvell’s PPP loan.

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